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               IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                      OF FLORIDA,IN AND FOR BROWARD COUNTY
                                    CASE NO. CACE-2021-

         RAYMOND PURCELL and RANDALL
         PURCELL,
             Plaintiffs,

         vs.


         CITY OF FORT LAUDERDALE,
         Florida, a municipal corporation,
         STEVEN       POHORENCE,      and
         ALEXANDER PAUL,
               Defendants.


                                              COMPLAINT

               This federal civil rights and state law tort action arises from the
        warrantless entry into the home of, detention of, and use of excessive force
        against Raymond Purcell and Randall Purcell on April 6, 2017, by defendants
        Steven Pohorence and Alexander Paul, City of Fort Lauderdale Police Officers.
        Raymond Purcell, a 62-year-old senior citizen, requested law enforcement
        assistance after his vehicle was vandalized. But instead of filing a police report
        upon their arrival, defendants Pohorence and Paul beat plaintiffs up in their own
        home and filed false criminal charges against them that were dismissed by the
        Broward County State Attorney's Office. Both Purcell brothers file this action
        seeking monetary, declaratory, and injunctive relief, including damages
        stemming from Officers Pohorence and Paul's illegal entry into the Purcell home,
        the excessive force used while illegally detaining them, and malicious
        prosecution.

                                JURISDICTION AND PARTIES
               1.   This is an action for damages exceeding $75,000.00, not including

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  costs, attorney's fees, and prejudgment interest.
        2.     The claims asserted arise pursuant to 42 U.S.C. §§ 1983 and 1988,
  the Fourth Amendment to the United States Constitution, the Fourteenth
  Amendment to the United States Constitution, and the laws of the State of
  Florida. This Court has jurisdiction to hear all claims contained in this action.
        3.     This court has original jurisdiction over claims brought pursuant to
  the laws ofthe State of Florida and concurrentjurisdiction over to claims brought
  pursuant to 42 U.S.C. § 1983.
        4.     Venue is proper in Broward County, Florida because it is where all
  the parties reside and where the events complained of occurred.
        5.     Plaintiffs have performed all conditions precedent, in accordance
  with §768.28(6), Florida Statutes, and all other requirements, before bringing
  this action. All conditions precedent have otherwise occurred, been performed,
  been met, been waived, would be futile, or are otherwise inapplicable.
        6.     This complaint is based on the individual and concerted conduct of
  the named police officer defendants in using the police power of the State of
  Florida to deprive Plaintiffs of their constitutional and civil rights. The
  defendants' conduct, individually and jointly, and through the authority given
  to them by the City of Fort Lauderdale, made under color of law, violated the
  rights of the Plaintiffs under the Fourth and Fourteenth Amendments to the
  United States Constitution as well as the statutes and laws of Florida.
        7.     At all times material to this action, all defendants acted under color
  of state or local law.
                                      PARTIES

        8.     Plaintiff RAYMOND PURCELL (hereinafter "Raymond")is a citizen of
  the State of Florida residing in Broward County and is over the age of 18 years.
  During the events giving rise to this case, Raymond was a 62-year-old senior
  citizen.

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        9.     Plaintiff RANDALL PURCELL (hereinafter "Randall") is a citizen of
  the State of Florida residing in Broward County and is over the age of 18 years.
        10.    At all relevant times, defendant CITY OF FORT LAUDERDALE
 ("City") is and was a duly organized public entity existing under the laws of the
  State of Florida. At all relevant times, City was the employer of defendant Officers
  Pohorence and Paul.
        1 1.   At all relevant times, defendant STEVEN POHORENCE was a duly
  authorized employee and agent of City, who was acting under color of law within
  the course and scope of his duties as a police officer and with the complete
  authority and ratification of his principal, defendant City. Officer Pohorence is a
  citizen of the State of Florida residing in Broward County and is over the age of
  18 years.
        12.    At all relevant times, defendant ALEXANDER PAUL was a duly
  authorized employee and agent of City, who was acting under color of law within
  the course and scope of his duties as a police officer and with the complete
  authority and ratification of his principal, defendant City. Officer Paul is a citizen
  of the State of Florida residing in Broward County and is over the age of 18 years.
        13.    The causes of actions contained in this complaint occurred and

  accrued in Broward County, Florida, in the Southern District of Florida.

                  RELEVANT FACTS COMMON TO ALL COUNTS

        14.    On April 6, 2017, Plaintiff Raymond Purcell was the victim of car
  vandalism who requested the assistance of law enforcement.
        15.    Fort Lauderdale Police Officers Steven Pohorence and Alexander
  Paul responded.
        16.    The Officers knew the Purcells and their residence because the
  police responded earlier that day to a request for assistance in connection with
  a visiting relative who refused to leave the residential property after being asked

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  to leave.
        17.    After police intervention, the relative left, but keyed both Raymond's
  truck and his significant other's car.
        18.    Raymond requested the same officers come back to his home for a
  follow up investigation into the vandalism and to make an arrest.
        19.    When Officer Paul arrived for this second call, Raymond showed
  them the damage to the car using his flashlight.
        20.    Raymond was sober.
        21.   The officers explained there would be no arrest nor would a police
  report be completed, because the damage was under one thousand dollars and
  the relative had left the scene.
        22.   The police investigation was thereupon complete.
        23.    Offended by law enforcement's refusal to write a police report,
  Raymond slammed his fist on the hood of the car and then went inside the house.
        24.   Raymond's significant other exited the house and began speaking
  with law enforcement, who explained to her how to file a police report.
        25.    While Officer Paul was talking to her, Raymond exited the residence
  and began complaining about the police inaction while in his garage connected
  to the house within the curtilage of his property. He tossed his flashlight on top
  of his work cabinet within his garage.
        26.   As he started walking back into his home, Officer Paul attacked him
  without consent or permission. Paul hit Raymond's hand, situated on the
  doorknob, with the butt of his gun, and busted the doorknob.
        27.   Paul then slammed Raymond onto the ground.
        28.   When Paul began placing Raymond's hands behind his back, the
  senior citizen pleaded with Paul, explaining he was disabled and did not have
 full motion in his arms. Paul ignored Raymond's pleas and continued pulling at
  which point Raymond heard a snap in his arms and went limp.

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          29.   Notwithstanding, Paul continued to punch Raymond in the face
  while he was on the ground with so much force that it knocked Raymond's acrylic
  partial dentures out of his mouth.
          30.   During the unlawful beating, Randall Purcell, Raymond's brother,
  told the police "Don't touch my brother," at which time Officer Pohorence
  attacked Randall too.
          31.   Officer Pohorence kicked Randall and placed his foot on Randall's
  face.
          32.   Officer Pohorence caused a one-half inch cut to Randall's eye that
  required medical sutures to repair. To this day, Randall has a C-shaped scar on
  his face, near his eye, causing a        niity visible to anyone who looks at his
  face.
          33.   Randall did not offer or reasonably appear to offer violence to any
  police officer or any other person. Nor did the State Attorney charge Randall with
  offering violence to law enforcement.
          34.   Raymond did not offer or reasonably appear to offer violence to any
  police officer or any other person. Nor was he charged with offering violence to
  law enforcement.
                A.    Law enforcement officers provided knowingly and
                      intentionally false claims in support of criminal
                      prosecution to justify their actions.

          35.   As with many police brutality cases,law enforcement gave a different
  account. Yet, in this case, the account given by the law enforcement officers did
  not provide a legal justification for their actions. In sum, the officers' factual
  recitation contained in their depositions in the criminal proceeding - even though
  patently false - provide no legal justification for the warrantless entry into
  Raymond's home, the seizures of Raymond and Randall, and the excessive force
  used to effectuate the seizures.
                      1.    Raymond did not offer any violence to the officers.
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        36.   Law enforcement officers claim that Raymond was intoxicated, was
  mad, and threw his flashlight into his garage. They did not believe he committed
  a crime or that he offered violence toward them.
        37.   In the June 16, 2017, deposition in Broward County Case No. 17-
  3809MM10A, Officer Pohorence provided the following sworn testimony:
        Q.    When was that?

        A.    After he shined the flashlight on the damage of the vehicle to
              show us where she allegedly keyed the vehicle. And he said, "I
              want her arrested now. You can trace her phone." We told him
              we couldn't do that, and that it appeared to be under a
              thousand dollars worth of damage. He got mad and threw the
              flashlight inside when we told him an arrest wasn't going to
              be made that night.

        Q.    Okay. So he took his flashlight, which was his property, and
              threw it into his own garage, correct?

        A.    Correct.

        Q.    He didn't throw it in your direction?

        A.    No.

        Q.    He didn't throw it into Officer Paul's direction?

        A.    No.

        Q.    So it was never meant to hit you, right?

        A.    No.

        Q.    He threw it into his own garage and then he went into his own
              garage?

        A.    Uh-huh, yes.

       38.    In the June 16, 2017, deposition in Broward County Case No. 17-
  3809MM10A, Officer Paul provided the following sworn testimony:
        Q.    You said that he threw his flashlight into the garage, right?

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        A.    Yes, sir.

        Q.    Where were you standing in relation to the garage; did you
              have your back to the garage or were you facing --

        A.    I was facing the garage.

        Q.    Okay. So he threw the flashlight in a direction away from you,
              right?

        A.    Yes, sir.

        Q.    Away from you and Officer Pohorence?

        A.    Yes, sir.

        Q.    So he didn't try to throw the flashlight at you or Officer
              Pohorence, right?

        A.    No, sir.

        Q.    He threw his own property into his own property and damaged
              his own property?

        A.    Yes, sir.

        Q.    No crime there, right?

        A.    No, sir.

                    2.     Officers admitted there was no probable cause or
                          reasonable suspicion to detain Raymond. They
                          falsely claimed they detained him for officer
                          safety.

        39.   The defendant officers claimed in the criminal proceeding that they
  detained Raymond for officer safety. Specifically, they claimed Raymond went
  inside the house, and while they were talking to Raymond's significant other,
  Raymond stormed out of the house, said,"Next time they come back, I'm gonna
  start shooting," and then started to go back inside.
        40.   To be sure, Raymond said no such thing. He did not say "Next time

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  they come back, I'm gonna start shooting."
        41.   Notwithstanding, Officer Paul conceded he did not believe Raymond
  committed a crime at this point. Paul claimed that, at most, he had a hunch that
  Raymond was talking about the police.
        42.   In the June 16, 2017, deposition in Broward County Case No. 17-
  3809MM10A, Officer Paul provided the following sworn testimony:
        Q.    At the time he said that, did he point at you and Officer
              Pohorence?

        A.    He just stormed right into the garage.

        Q.    Okay. My question is: At the time that he made that
              statement, was he pointing to you and Officer Pohorence?

        A.    Not to my knowledge, went straight into the garage.

        Q.    Okay. At the time that he made that statement, did he say "the
              officers, the cops, the police"? Did he say anything that
              directed that statement towards you and Officer Pohorence?

        A.    He didn't specify as far as any cops or anything like that. I
              don't know who he was talking about.

        Q.    You didn't know who he was talking about?

        A.    I didn't want to find out either so...

        Q.    Hold on. You did not know who he was talking about, right?

        A.    I assumed it was us while we were there.

        Q.    You said, "I didn't know," correct?

        A.    I don't know who he was talking about.

        Q.    Okay. Then you say, "I assumed," correct?

        A.    Yes, sir.

        Q.    An assumption is a belief based not in fact, correct?


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        A.    Based on the circumstances of what's going on, yes.

        Q.    Okay. "Next time they come back," that's talking about a date
              in the future, correct?

        A.    Yes.

        Q.    Conditioned on a future event, correct?

        A.    Yes.

        Q.    So it wasn't a present threat at that moment, correct?

        A.    I don't know that.

        Q.    You didn't know anything then?

        A.    No.

        Q.    You're guessing?

        A.   If I go to a scene --

        Q.   I'm asking a question. You're guessing at this point, right?

        A.   I'm assuming, yes.

        Q.   You're assuming. Going off a hunch, right?

        A.   From what's going on at that particular circumstance.

        Q.   You're going off a hunch based upon those circumstances,
             correct?

        A.   Yes.

        Q.   It's not rooted in any fact?

        A.   No. All I know is that there were weapons in the house, he was
             very angry and acting irate.

        Q.   At that point had he committed a crime?

        A.    No.


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        43.   As far as the reference to weapons, the officers asked Raymond if he
  had any weapons inside the home during their first visit to the home earlier that
  day. Raymond disclosed he had a firearm inside the home as well as a concealed
  firearms permit. While inside the home during this first visit, the officers also
  saw decorative and valuable Star Trek memorabilia and collectibles:




        44.   The decorative weapon blades affixed to the wall were not easily
  assessable and were no threat to law enforcement.
        45.   Similarly, Officer Pohorence agreed there was no probable cause to
  arrest and that Officer Pohorence did not believe Raymond committed a crime,
  was committing a crime, or was about to commit a crime.
        46.   In his June 16, 2017, deposition in Broward County Case No. 17-
  3809MM10A, Officer Pohorence provided the following sworn testimony:
        Q.    Okay. So what crime were you detaining Mr. Purcell for when
              you detained him in his house?

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        A.       We were detaining him for an officer-safety issue.

        Q.    Well, you can detain someone under an investigatory stop,
              correct?

        A.    Correct, or if there's an officer-safety issue. If we feel that we're
              being threatened.

        Q.    Let's talk about an investigatory stop. Did you believe a crime
              had previously been committed by him?

        A.    Not by him, but he was a victim of a crime.

        Q.    Okay. Do you believe that he was in the process of committing
              a crime?

        A.    No.

        Q.    Do you believe he was about to commit a crime?

        A.    No.

        Q.    So you did not believe he previously committed a crime, had
              committed a crime, or about to commit a crime, right?

        A.    No.

        Q.    Okay. Did you have probable cause for an arrest?

        A.    On him, no.

                      3.     Officers conceded there was no warrant or consent
                             to enter the Purcell home.

        47.   The defendant officers entered the garage to detain Raymond.
  Raymond was standing inside the garage, right in front of where his entry door
  was located.
        48.   The law enforcement officers did not have a warrant to enter the
  home. Nor did they obtain consent to enter the home.
        49.   There were no exigent circumstances.
        50.   When the defendant officers entered the home without a warrant or
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  consent, the officers had no reason to believe Raymond or anyone else nearby
  was engaged in unlawful activity.
        51.   The law enforcement officers were not legally detaining another
  person near Raymond at the time they detained Raymond.
        52.   In the June 16, 2017 deposition in Broward County Case No. 17-
  3809MM10A, Officer Pohorence provided the following sworn testimony:
        Q.    Where did you detain him with regards to his home?

        A.    We attempted to detain him inside the garage, right in front of
              where his door was. We tried to prevent him from going inside
              the house.

        Q.    Well, you were inside his garage, correct?

        A.    Correct.

        Q.    You were inside the curtilage of his home?

        A.    Correct.

        Q.    Did you have a warrant to enter his home?

        A.    No, the garage was open.

        Q.    If the front door is open, do you need a warrant to enter into
              a home?

        A.    Well, yes, but --

        Q.    Okay. Did you have a warrant to enter into his garage?

        A.    No.

        Q.    Did you receive consent from him to enter into the garage?

        A.    No.

        Q.    Did you have what you believe is exigent circumstances of
              fresh pursuit?

        A.    Well, the statements that he's making saying that "Next time

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              they come, I'm gonna start shooting," and then he goes to
              make a run for his garage door into his residence where we
              know there's weapons, yes, I believe we had the right to detain
              him.

        Q.    I'm asking you this. Were you in fresh pursuit of him?

        A.    No.

        Q.    You believe that you had exigent circumstances, correct?

        A.    Yes.

        53.   In the June 16, 2017, deposition in Broward County Case No. 17-
  3809MM10A, Officer Paul provided the following sworn testimony:
        Q.    And it's based upon him yelling and slamming things around
              in his own garage that you entered into his garage, correct?

        A.    Yes.

        Q.    Okay. Did you have a warrant to enter his garage?

        A.    No.

        Q.    Did you have consent from him to enter his garage?

        A.    No, no.

        Q.    Was there anything that you saw in plain view that allowed
              you to enter his garage?

        A.    There was tools in the garage.

        Q.    Any contraband?

        A.    No.

        Q.    Would you agree, to enter someone's home, you need either a
              warrant, consent, or exigent circumstances such as fresh
              pursuit, right?

        A.    Yes.

        Q.    You didn't have a warrant, right?
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        A.    No.

        Q.    You didn't have consent, correct?

        A.    No.

        Q.    And you weren't in fresh pursuit for exigent circumstances,
              correct?

        A.    No.

        Q.    Okay. So what legal authority gave you to enter his garage?

        A.    While there, conducting my -- talking to the wife, concluding
              my investigation, he came out acting irate and made several
              threats and I felt that I needed to think first of my safety and
              his safety and everyone else there. So we attempted to detain
              him.

                     4.   Officer Paul, who detained Raymond, had no
                          known or apparent facts supporting a belief that
                          Raymond was goingfor a weapon.

        54.   Regarding the claim of officer safety, Officer Paul, who physically
  detained Raymond, had no known or apparent facts supporting a belief that
  Raymond was going for a weapon.
        55.   In the June 16, 2017, deposition in Broward County Case No. 17-
  3809MM10A, Officer Paul provided the following sworn testimony:
        Q.    You attempted to detain him because you know that there
              were weapons in his home?

        A.    Yes.

        Q.    He never made a movement to get a weapon, did he?

        A.    I don't know that. He stormed, started throwing things away,
              and then he walked towards back the house, inside the house
              again from the garage.

        Q.    So you have no facts to support a belief that he was going for
              a weapon?

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        A.    As far as a physical fact, no.

                    5.    Pohorence claims he attacked Randall because
                          Randall ran toward him in an aggressive manner.
                          Pohorence did not claim in in the criminal
                          proceeding that Randall offered violence to him.

        56.   While Officer Paul was detaining Raymond, Officer Pohorence struck
  Randall, Raymond's brother. Officer Pohorence claims Randall ran toward him
  in an aggressive manner. To be sure, Randall did not in fact run toward Officer
  Pohorence or any other person in an aggressive manner.
        57.   In the June 16, 2017, deposition in Broward County Case No. 17-
  3809MM10A, Steven Pohorence provided the following sworn testimony.
        Pohorence: We were trying to put his hands behind his back, and
                   that's when the Defendant ran towards me and said,
                   "Don't touch my brother."

        Q.    When the Defendant came out and got involved when did you
              strike him?

        A.    When he ran towards me in an aggressive manner.

        Q.    How far away was he when you struck him?

        A.    He was at an arm's reach. He ran from the as soon as the
              garage ends, at the start of the driveway, so the garage door
              right where the garage door would be, as we were attempting
              to detain his brother, he began to run towards me. And then
              when he was closing in on the gap, when he was at an arm's
              reach, I pushed him with an open palm.

        Q.    Did you give him any instructions to stop?

        A.    Yes, I stated multiple times to stay back.

        Q.    And then you struck him?

        A.    Correct, with an open palm to his chest to create distance so
              we could attempt further to detain his brother.

        Q.    Okay. Once you struck him the first time, what happened
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               next?

        A.     He fell back. He tripped on a chair. And then he ended up
               leaving the garage.

        58.    To be sure, Randall never charged Officer Pohorence or threatened
  any violence to Officer Pohorence or any other person.
               B.      Law enforcement officers file charges against both Purcell
                       brothers.

        59.    Raymond Purcell received a notice to appear for resisting without
  violence.
        60.    Randall Purcell was arrested for resisting with violence as well as
  resisting without violence. Only after Randall's arrest, the defendant law
  enforcement officers discovered an arrest warrant for Randall in another state.
        61.    In the felony proceeding, Officers Paul and Pohorence filed false
  police reports for resisting with violence and resisting without violence against
  the Purcell brothers.
        62.    The police report falsely claimed that Randall pushed Officer
  Pohorence. Officer Pohorence abandoned the claim in his deposition.
        63.   The State Attorney's Office filed a criminal charge against Randall
  only for resisting without violence.
        64.    Plaintiffs engaged private counsel to represent them in the criminal
  proceedings. After the filing of motions to dismiss, the State Attorney's Office
  dismissed both cases.
              C.       Internal Affairs Investigation

                       1.    The Fort Lauderdale Police Department does not
                            follow its use offorce investigations protocols.

        65.    Every Fort Lauderdale police officer who uses force during a citizen
  encounter is required to disclose the use of force for agency review. The
  disclosure is typically made in the arrest affidavit or offense incident report.

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        66.      The use offorce report discloses the force used as well as the officer's
  justification for using that force, including the circumstances that necessitated
  the force.
        67.      One purpose of the review policy is to monitor law enforcement
  officers' use of force against civilians. The review policy exists because the City
  of Fort Lauderdale is fully aware of the need for oversight based on known
  instances of police excessive use of force against innocent civilians. If law
  enforcement officers are not supervised and their use of force subject to
  administrative review, the officers will use force indiscriminately.
        68.      By custom and practice, the City of Fort Lauderdale does not
  investigate the truth of the matters asserted by its officers in their use of force
  disclosures.
        69.      Specifically, the South Florida Sun-Sentinel uncovered a practice
  within the police department of not independently verifying facts asserted by
  officers in their report. Experts say cops defied basic policy failure to review
  bodycam footage may have let aggressive cops slide the advent of body camera,
  South Florida Sun-Sentinel (June 26, 2020).1
        70.      Agency reviewers do not look to evidence independent of what the
  officers self-report, even if the evidence is in the form of undisputable body
  camera footage. Stated differently, the Fort Lauderdale Police Department
  accepts the version of the facts stated by the police at face value, even when it
  knows or has reason to believe the statements are false, manufactures, or
  materially exaggerated.
        71.      The failure by the City to conduct independent investigations allows
  aggressive members of the City police force who use excessive force to act


        1  (available   at   https://www.sun-sentinel.com/local/broward/fort-
  lauderdale/fl-ne-lauderdale-officer-investigation-folo-20200626-
  cpkcphohjbbdvbnwgabottugnm-story.html)
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  unchecked, thus rendering the agency review process meaningless and resulting
  in endangering civilians.
           72.    This lack of accountability encourages the unlawful police use of
  force.
           73.    For Officer Pohorence, the failure to independently review his
  assertions that the force he used during encounters was justified allowed his
  behavior to go unchecked and resulted in countless innocent victims of his
  excessive force, including the Purcells.
           74.    Specifically, the South Florida Sun-Sentinel uncovered evidence that
  independent body camera footage of several of Pohorence's citizen encounters
  debunked his asserted claims of his justified use of force. See Videos show Fort
  Lauderdale cop pushing his knee into men's necksfor arrests, South Florida Sun-
  Sentinel (June 23, 2020).2 Officer Pohorence was never punished for his use of
  force because of the City's custom and practice of not independently reviewing
  the alleged circumstances asserted to be the basis for using force.
           75.    Pohorence was only employed by the City for four months. Yet, he
  had a known history of unlawful use of force. The City Police Department and
  City officials knew that:
               • On December 21, 2016, Officer Pohorence drew his firearm on a
                 subject inside an abandoned building without lawful justification.
                 Officer Pohorence had no reasonable grounds for such force. Officer
                 Pohorence was not disciplined. Nor was a determination made that
                 he violated City policies and procedures.

               • On Aug 9, 2017, the Department learned of Officer Pohorence
                 illegally seizing an individual driving a rental vehicle. Officer
                 Pohorence was not disciplined. Nor was a determination made that
                 he violated City policies and procedures.


           2
           (available   at   https://www.sun-sentinel.com/local/broward/fort-
  lauderdale/fl-ne-fort-lauderdale-cop-new-investigation-20200623-
  6dcvk46ztff6ra3jekonkkwyfi-story.html)
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           • On February 11, 2017, Officer Pohorence drew his firearm on
             individuals being investigated for a non-violent offense, grand theft
             auto. Officer Pohorence was not disciplined. Nor was a
             determination made that he violated City policies and procedures.

           • On April 6, 2017, Officer Pohorence, while responding to another
             call, drew his firearm to stop two men preparing to fight each other.
             Officer Pohorence's justification: one of them had a hammer. Officer
             Pohorence was not disciplined. Nor was a determination made that
             he violated City policies and procedures.

        76.   Paul similarly had a known history of using unlawful force. The City
  Police Department and City officials knew that:
        • On December 25, 2016, in connection with a misdemeanor arrest for
          possession of drug paraphernalia, Officer Paul and another officer
          struck a suspect several times in the abdomen using their knees,
          because he pulled away from the arrest, allegedly attempted to destroy
          the crack pipe and tried to stand up after being leg swept to the ground.
          Officer Paul was not disciplined. Nor was a determination made that he
          violated City policies and procedures.

                    2.     The Cityfails to conduct an adequate investigation
                           of the Purcell complaint.

        77.   After the dismissal of his criminal action, Raymond filed an internal
  affairs complaint with the City Police Department in 2019 and gave a statement
  to Sergeant Keven Dupree.
        78.   Raymond made internal affairs aware that the criminal cases were
  dismissed by the State Attorney's Office.
        79.   The City Police Department, however, only opened a case
  investigation for unnecessary force and false arrest. It did not investigate
  Raymond's claim of excessive force and unlawful entry into his home. Nor did
  the Police Department reconsider its earlier use of force determination in light of
  Raymond's testimony.
        80.   The Police Department conducted an inadequate investigation. The
  Police Department did not review the sworn depositions in the criminal case.
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        81.   The Police Department did not independently verify facts contained
  in the officers' reports. Alternatively, if they did, the Police Department and its
  internal affairs officers intentionally ignored the inconsistent statements that
  demonstrated defendant officers provided false testimony during the internal
  affairs investigation by exaggerating the Purcell brothers'conduct.
        82.    The City and its Police Department found no violation on or around
  October 18, 2019.
        83.   The case was never submitted to the civilian review board for review
  for independent review.
        84.    Consequently, Officers Paul and Pohorence were never disciplined
  for the unlawful entry into the premise, unlawful seizure, and unlawful use of
  excessive force.
      CAUSES OF ACTIONS AGAINST OFFICERS POHORENCE AND PAUL.

     COUNT I - Illegal Entry into Home — Under 42 U.S.C. § 1983, Fourth
                  Amendment, and Fourteenth Amendment
                         (Against Pohorence and Paul)

        85.   Plaintiffs reallege paragraphs 1 through 84.
        86.   The law is clearly established that a warrantless entry into a home
  must be accompanied by probable cause to believe a crime has been committed
  and an exigent circumstance.
        87.   The officer defendants did not have reasonable suspicion or
  probable cause to believe Raymond had committed, was committing, or was
  about to commit a criminal offense.
        88.   The officer defendants did not have probable cause to believe an
  exigent circumstance necessitated the warrantless entry into the Purcell home.
        89.   Raymond was not lawfully seized. Nor was he or anyone near him
  the subject of a lawful seizure by law enforcement.
        90.   The defendant officers had no articulable basis for believing

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  Raymond was fleeing law enforcement, presented an imminent risk of serious
  injury to any person, or raised a risk of the destruction of any evidence.
        91.    At the time defendants Pohorence and Paul entered the premises,
  plaintiffs had a right not to be subjected to warrantless and nonconsensual entry
  into their home.
        92.    Defendants Pohorence and Paul knew or should have known that
  their conduct in entering the premises without a warrant violated the clearly
  established constitutional rights of the plaintiffs.
        93.    At the time the defendant officers entered plaintiffs' home, no officer
  in their position could have believed there was probable cause to believe that
  plaintiffs committed any crime.
        94.    At the time plaintiffs were inside the home, no officer in the officer
  defendants' position could have believed there was reasonable suspicion to
  believe the plaintiffs had or would commit any crime.
        95.    Defendants Pohorence and Paul's warrantless entry into the home
  was willful, reckless, callous, intentional, and malicious in derogation of the
  plaintiffs' rights under federal and state law.
        96.    As a direct and proximate result of defendants Pohorence and Paul's
  violation of plaintiffs' civil rights, plaintiffs suffered damages, including mental
  anguish, bodily injury, pain and suffering, and humiliation.
        For these reasons, plaintiffs demand judgment in excess of Seventy-Five
  Thousand Dollars ($75,000.00) against defendants Pohorence and Paul for
  damages, punitive damages, prejudgment interest on liquidated damages as
  allowed by law, costs of this action, reasonable attorney's fees, and any other
  relief this Court deems just and proper.
        COUNT II - Unlawful Seizure — Under 42 U.S.C. § 1983, Fourth
                  Amendment, and Fourteenth Amendment
                       (Against Pohorence and Paul)

        97.    Plaintiffs reallege paragraphs 1 through 84.
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         98.    By detaining and striking the plaintiffs, as well as placing them in
  handcuffs, the defendant officers seized the plaintiffs.
         99.    At the time of the seizure, no reasonable police officer could have
  believed that there was probable cause to believe plaintiffs committed any
  criminal offense or reasonable suspicion to believe they had committed an
  offense, were committing an offense, or were about to commit an offense.
          100. The defendant officers did not have reasonable articulable suspicion
  that would authorize the detention of plaintiffs for any reason or length of time.
          101. To conduct a Terry stop in someone's home, clearly established law
  requires there must be reasonable suspicion and an exigent circumstance.
          102. There was no articulable reasonable suspicion and no exigent
  circumstance in this instance.
          103. Because plaintiffs' detention was not supported by arguable
  probable cause or arguable reasonable suspicion, the defendant officers violated
  plaintiffs' clearly established Fourth Amendment rights.
          104. The actions by defendant Pohorence and Paul were reckless,
  objectively unreasonable, and constituted an unlawful seizure in violation of the
  Fourth Amendment to the United States Constitution.
          105. Because Defendants could not legally detain plaintiffs, they were not
  permitted to use any force whatsoever, and all physical and mental injuries
  received by plaintiffs during the seizure were proximately caused by the
  defendant officers.
          105. Plaintiffs were seized at the direction ofeach defendant officer in this
  count, and each defendant officer in this count participated in the decision to
  seize plaintiffs.
          107. The actions of each defendant officer were the proximate cause of
   plaintiffs' arrest.
          108. Defendants Pohorence and Paul's conduct caused plaintiffs'injuries

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  and mental anguish.
         109. Defendants Pohorence and Paul's unlawful seizure was willful,
  reckless, callous, intentional, and malicious in derogation of the plaintiffs' rights
  under federal and state law.
        For these reasons, plaintiffs demand judgment in excess of Seventy-Five
  Thousand Dollars ($75,000.00) against defendants Pohorence and Paul for
  damages, punitive damages, prejudgment interest on liquidated damages as
  allowed by law, costs of this action, reasonable attorney's fees, and any other
  relief this Court deems just and proper.
        COUNT III - Excessive Force — Under 42 U.S.C. § 1983, Fourth
                  Amendment, and Fourteenth Amendment
                        (Against Pohorence and Paul)

         1 10. Plaintiffs reallege paragraphs 1 through 84.
         1 11. The use of force in effectuating the detention of Raymond and
  Randall Purcell was excessive and shocks the conscience.
         1 12. Defendants Pohorence and Paul committed acts that violated
  plaintiffs' constitutional rights, including but not limited to, the right not to be
  subjected to excessive or unreasonable force.
         1 13. The force used by defendants Pohorence and Paul was reckless,
  objectively unreasonable, and constituted an excessive use of force in violation
  of the Fourth Amendment to the United States Constitution.
         1 14. Defendants Pohorence and Paul's conduct caused plaintiffs'injuries
  and mental anguish.
         1 15. Defendants Pohorence and Paul knew or should have known that
  their conduct violated the clearly established constitutional rights of plaintiffs.
         1 16. The force used by Defendants Pohorence and Paul was willful,
  reckless, callous, intentional, and malicious in derogation of the plaintiffs'rights
  under federal and state law.
        1 17. As a direct and proximate result of defendants Pohorence and Paul's
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  violation of plaintiffs' civil rights, plaintiffs suffered damages, including mental
   anguish, bodily injury, pain and suffering, and humiliation.
         1 18. The force used to effectuate plaintiffs' detention is the proximate
  cause of plaintiffs' physical and mental injuries.
         For these reasons, plaintiffs demand judgment in excess of Seventy-Five
  Thousand Dollars ($75,000.00) against defendants Pohorence and Paul for
  damages, punitive damages, prejudgment interest on liquidated damages as
  allowed by law, costs of this action, reasonable attorney's fees, and any other
  relief this Court deems just and proper.
                           COUNT IV - Assault and Battery
                           (Against Paul and Pohorence)
         1 19. Plaintiffs reallege paragraphs 1 through 84.
         120. Defendants Pohorence and Paul committed acts intended to cause
  plaintiffs an apprehension of harmful or offensive contact.
         121. Defendants Pohorence and Paul committed acts that caused
  apprehension in plaintiffs that hainiful or offensive contact was imminent.
         122. The force used by defendants Pohorence and Paul was a harmful
  and offensive contact.
         123. Defendants Pohorence and Paul were acting in the scope and
  furtherance of their employment as law enforcement officers.
         124. Defendants Pohorence and Paul acted intentionally, in bad faith, or
  with malicious purpose or in a manner exhibiting wanton and willful disregard
  of human rights, safety, or property.
         125. As a direct and proximate result of defendants Pohorence and Paul's
  conduct, plaintiffs suffered damages,including, bodily injury, pain and suffering,
  humiliation, loss of earnings, and loss of ability to earn money. The losses are
  permanent.
        For these reasons, plaintiffs demand judgment against defendants
  Pohorence and Paul for compensatory damages, punitive damages, prejudgment
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  interest on liquidated damages as allowed by law, costs, and such other and
  further relief as the Court deems appropriate.
                       COUNT V - False Imprisonment Claim
                         (Against Paul and Pohorence)
         126. Plaintiffs reallege paragraphs 1 through 84.
         127. Plaintiffs suffered a harmful and offensive seizure by defendants
  Pohorence and Paul.
         128. Defendants Pohorence and Paul did not have reasonable suspicion
  or probable cause to seize or arrest plaintiffs.
         129. Defendants Pohorence and Paul did not have a warrant to seize or
  arrest plaintiffs.
         130. Defendants Pohorence and Paul were acting in the scope and
  furtherance of their employment.
         131. Defendants Pohorence and Paul acted intentionally, in bad faith, or
  with malicious purpose or in a manner exhibiting wanton and willful disregard
  of human rights, safety, or property.
        132. As a direct and proximate result of defendants Pohorence and Paul's
  conduct, plaintiffs suffered damages,including, bodily injury, pain and suffering,
  humiliation, loss of earnings, and loss of ability to earn money. The losses are
  permanent.
       For these reasons, plaintiffs demand judgment against defendants
  Pohorence and Paul for compensatory damages, prejudgment interest on
  liquidated damages as allowed by law, punitive damages, costs, and such other
  and further relief as the Court deems appropriate.
                        COUNT VI - Malicious Prosecution
                         (Against Pohorence and Paul)
         133. Plaintiffs reallege paragraphs 1 through 84.
         134. Defendant Officers Pohorence and Paul owed a duty of care to the
   citizenry in general, and specifically in this case, they owed a duty of care to
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  plaintiffs.
         135. Defendant Officers Pohorence and Paul commenced or continued an
  original criminal proceeding against plaintiffs.
         136. Defendant Officers Pohorence and Paul were the legal cause of the
  original proceeding against the plaintiffs.
         137. On or about April 10, 2017, and July 24, 2017 the prosecution
  against Raymond Purcell and Randall Purcell, respectively, stemming from
  Raymond's notice to appear and Randall's arrest was terminated in favor of
  plaintiffs.
         138. The termination of the prosecution constituted a bona fide
  determination that there was an absence of probable cause for the prosecution
  and continued prosecution against plaintiffs.
         139. Said prosecution was instituted without probable cause by
  defendant Officers Pohorence and Paul and the facts known by the defendant
  officers would not have warranted a reasonable person to believe that any
  criminal offense had been committed by plaintiffs.
         140. Defendant Officers Pohorence and Paul acted maliciously and in bad
  faith against the plaintiffs at all times mentioned herein. No prosecution of
  plaintiffs would have occurred but for the actions of Defendant Officers
  Pohorence and Paul.
         141. There was an absence of probable cause to arrest and prosecute
  plaintiffs and for the continued prosecution against plaintiffs.
         142. Plaintiffs suffered damages as a result of the proceedings.
        For these reasons, plaintiffs demand judgment against defendants
  Pohorence and Paul for compensatory damages, prejudgment interest on
  liquidated damages as allowed by law, punitive damages, costs, and such other
  and further relief as the Court deems appropriate.
           CAUSES OF ACTION AGAINST CITY OF FORT LAUDERDALE

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                     COUNT VII - Federal Civil Rights Violations
                        (Against City of Fort Lauderdale)

         143. Plaintiffs reallege paragraphs 1 through 84.
         144. Defendants Pohorence and Paul committed acts that violated
   plaintiffs' constitutional rights.
         145. Defendants Pohorence and Paul have not been disciplined for their
  unnecessary and excessive use of force.
         146. Prior to the plaintiffs' situation described in this Complaint,
  defendants Pohorence and Paul used excessive and unnecessary force against,
  unlawfully seized, and unlawfully entered the homes of Fort Lauderdale civilians.
         147. The actions and inactions of defendants City, Pohorence, and Paul
  were done pursuant to one or more of the following de facto policies, practices,
  and/or customs of the City that are so pervasive as to carry the force of law.
         148. The City has a defacto policy, practice, and/or custom of concealing
  and/or suppressing officer misconduct (both on-duty and off-duty misconduct),
  including the use of unlawful force, unlawful seizures, and warrantless searches
  and detentions. The concealment and suppression of the existence of
   misconduct includes, but is not limited to: failure to sufficiently investigate
  allegations of misconduct; failure to accept and act on citizen complaints against
  police officers; failure to investigate criminal conduct involving officers; disparate
  treatment between an officer who is the subject of an investigation and a non-
  officer suspect; failure to promptly record witness statements or preserve
  evidence; failure to promptly interview the suspected officer; failure to properly
  and sufficiently discipline an officer, even when a complaint is sustained;
  fabrication of exculpatory evidence or destruction of evidence; and failure to
  initiate prompt disciplinary procedures related to the alleged misconduct, even
  when the allegation of misconduct is meritorious.
         149. Likewise, the City has a de facto policy, practice, and/or custom of

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   deficient and biased procedures for investigating complaints,including excessive
  force and unlawful and warrantless searches and seizures against on-duty
   officers.
          150. The City has a defacto policy, practice, and/or custom of failing to
   maintain accurate and complete records of complaints and investigations of
   misconduct.
          151. The City has a defacto policy, practice, and/or custom of failing to
  turn over and disclose complete records of complaints and investigations of
   misconduct.
          152. The City has a defacto policy, practice, and/or custom of a "code of
  silence" (also referred to as the "blue line" or "blue shield"). This code is an
  implicit understanding between and among members of the City Police
  Department resulting in a refusal or failure to report instances of misconduct of
   which they are aware, including the use of unlawful force and warrantless
  searches, seizures and entry onto property, despite their obligation to do so as
  sworn police officers. This includes police officers who remain silent or give false
  or misleading information during official investigations into allegations against a
  fellow officer related to misconduct to protect themselves or their fellow officers
  from discipline, criminal prosecution, or civil liability.
          153. The City acted in a manner consistent with a de facto policy,
  practice, and/or custom of a "code of silence" and "blue shield" when it chose
   not to immediately discipline defendants Pohorence and Paul for the
  constitutional violations committed against plaintiffs and others.
          154. Further, the City acted in a manner consistent with a defacto policy,
  practice, and/or custom of a "code of silence" and "blue shield" when it engaged
  in conduct such as, but not limited to, the following:
               a. The City Internal Affairs ("IA"), and Police Department supervisors
                  and superiors failed to conduct proper administrative investigations

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              into defendants Pohorence and Paul both before and after the
              Purcell incident.
           b. The City, IA, and Fort Lauderdale Police Department supervisors
              and superiors failed to lawfully and/or properly adjudicate the
              administrative      investigations   into   the   complaints   against
              defendants Pohorence and Paul both before and after the Purcell
              incident.
           c. The City failed to properly investigate and/or discipline defendants
              Pohorence and Paul both before and after the Purcell incident.
           d. The City failed to dismiss defendant Pohorence when he conducted
              an unlawful search and seizure and use of excessive force during
              his probationary period.
           e. The City and its Police Department's policies and practices
              governing behavioral intervention are deficient in that they are non-
              disciplinary.
        155. The City and its Police Department supervisors and superiors knew
  its officers were initiating unlawful searches and seizures as well as using
  excessive force against Fort Lauderdale civilians and residents. It took no actions
  to train or discipline its police officers to avoid the constitutional violations
  discussed in this Complaint.
        156. Individually and collectively, the above-described de facto policies,
  practices, and/or customs of the City proximately result in the culture and
  pervasive attitude among members of the Fort Lauderdale Police Department,
  including defendants Pohorence and Paul, that they may engage in misconduct
  against citizens, residents, and others with impunity, and without fear of official
  consequence. The City's police officers, including defendants Pohorence and Paul
  consider themselves "above the law."
        157. The aforementioned de facto policies, practices, and/or customs of

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  the   City, individually and      collectively, have been      maintained and/or
  implemented with utter indifference by the City and has or have encouraged
  and/or motivated defendants Pohorence and Paul to engage in the described
  conduct and wrongful acts against plaintiffs, and therefore acted as the direct
  and proximate cause of the injuries sustained by the plaintiffs.
        158. The aforementioned de facto policies, practices, and/or customs of
  the City, individually and/or collectively, were the moving force behind
  defendants Paul and Pohorence's described conduct, depriving plaintiffs of their
  constitutional rights.
        159. The above acts and/or omissions of the City violated plaintiffs'rights
  under the Fourth and Fourteenth Amendments to the United States
  Constitution.
        160. As a direct and proximate result ofthe City's conduct, plaintiffs were
  subjected to injury, including deprivations of their civil rights. Plaintiffs suffered
  damages, including mental anguish, bodily injury, pain and suffering,
  humiliation, embarrassment, loss of earnings, and loss of ability to earn money.
  The losses are permanent.
        For these reasons, plaintiffs demand judgment against the City for
  compensatory damages, prejudgment interest on liquidated damages as allowed
  by law, punitive damages, costs, attorney's fees, and such other and further relief
  as the Court deems appropriate.




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                         COUNT VIII - Assault and Battery
                         (Against City of Fort Lauderdale)
         161. Plaintiffs reallege paragraphs 1 through 84.
         162. Defendants Pohorence and Paul committed acts intended to cause
  plaintiffs an apprehension of harmful or offensive contact.
        163. Defendants Pohorence and Paul committed acts that caused
  apprehension in plaintiffs that harmful or offensive contact was imminent.
        164. The force used by defendants Pohorence and Paul was a harmful
  and offensive contact.
        165. Defendants Pohorence and Paul were acting in the scope of their
  employment.
        166. Defendants Pohorence and Paul acted intentionally but not in bad
  faith or with malicious purpose or in a manner exhibiting wanton and willful
  disregard of human rights, safety, or property.
        167. Pursuant to Florida Statute 768.28(9), the City is vicariously liable.
        168. As a direct and proximate result of defendants Pohorence and Paul's
  assault and battery, plaintiffs suffered damages, including mental anguish,
  bodily injury, pain and suffering, humiliation, embarrassment, loss of earnings,
  and loss of ability to earn money. The losses are permanent.
        For these reasons, plaintiffs demands judgment against the City for
  compensatory damages, prejudgment interest on liquidated damages as allowed
  by law, costs, and such other and further relief as the Court deems appropriate.
                          COUNT IX - False Imprisonment
                         (Against City of Fort Lauderdale)
        169. Plaintiffs reallege paragraphs 1 through 84.
        170. Plaintiffs suffered a harmful and offensive seizure by defendants
  Paul and Pohorence.
        171. Defendants Pohorence and Paul did not have reasonable suspicion
  or probable cause to seize or arrest plaintiffs.
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          172. Defendants Pohorence and Paul did not have a warrant to seize or
   arrest plaintiffs.
          173. Defendants Pohorence and Paul were acting in the scope and
  furtherance of their employment.
          174. Defendants Pohorence and Paul acted intentionally but not in bad
  faith or with malicious purpose or in a manner exhibiting wanton and willful
  disregard of human rights, safety, or property.
         175. Pursuant to Florida Statute 768.28(9), the City is vicariously liable.
         For these reasons, plaintiffs demand judgment against the City for
  compensatory damages, prejudgment interest on liquidated damages as allowed
   by law, punitive damages, costs, and such other and further relief as the Court
  deems appropriate.
                 COUNT X - Negligent Training and/or Supervision
                       (Against City of Fort Lauderdale)

         176. Plaintiffs reallege paragraphs 1 through 84.
         177. At all times material hereto, defendant City owed a duty to take
  reasonable care in the instruction, training, and supervision of its employees.
         178. Defendant City breached its duty by failing to implement its training
  regiment and by failing to implement its agency review procedures, including by:
             a. Maintaining a custom of ignoring and/or covering up known or
                suspected misconduct by its officers, including excessive and
                unreasonable uses of force, unlawful searches and seizures, and
                unlawful entries/trespasses into citizens' homes;
             b. Maintaining a plan and practice of using Fort Lauderdale Police
                Department resources to protect its employees from criminal, civil,
                and administrative consequences of their unreasonable searches
                and seizures and excessive use of force and to protect the City from
                embarrassment and accountability;

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           c. Maintaining a plan, and practice of controlling persons and use of
              force reporting, allowing 1) incomplete statement-taking, 2)
              incomplete and disingenuous analysis of the force used, 3)
              understatements of the force used, and 4) overstatement of the
              resistance to which the use of force allegedly in response;
           d. Failing to meaningfully train and/or discipline officers with respect
              to the appropriate use of force during police-citizen encounters and
              the proper reporting of incidents that involved the use of force, even
              after learning of a steady increase in the number of sustained
              excessive   force   allegations   against   Fort   Lauderdale   Police
              Department employees, as required by City policies and procedures;
           e. Failing to properly investigate suspected incidents of excessive force
              and unreasonable searches and seizures, in line with its review
              policies.
        179. Defendant City breached its duty owed by negligently instructing,
  training, and supervising defendants Pohorence and Paul in the reasonable and
  safe interaction with unarmed suspects without using unlawful violence and in
  the warrantless entry into a person's home.
        180. As a direct and proximate result of the City's negligent supervision,
  retention, and training of defendants Pohorence and Paul, plaintiffs were
  subjected to injury, including deprivations of their civil rights and state law
  rights. Plaintiffs suffered damages,including mental anguish, bodily injury, pain
  and suffering, humiliation, embarrassment, loss of earnings, and loss of ability
  to earn money. The losses are permanent.
        For these reasons, plaintiffs demand judgment against the City for
  compensatory damages, prejudgment interest on liquidated damages as allowed
  by law, punitive damages, costs, and such other and further relief as the Court
  deems appropriate.

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                            DEMAND FOR JURY TRIAL

        Plaintiffs request a jury trial as to all counts so authorized.
  Dated: April 5, 2021

                                               Respectfully submitted,
                                               SI Michael T. Davis
                                               BENEDICT P. KUEHNE
                                               Florida Bar No. 233293
                                               MICHAEL T. DAVIS
                                               Florida Bar No. 63374
                                               JOHAN DOS SANTOS
                                               Florida Bar No. 1025373
                                               KUEHNE DAVIS LAW,P.A.
                                               100 S.E. 2nd St., Suite 3105
                                               Miami, FL 33131-2154
                                               Tel: 305.789.5989
                                               Fax: 305.789.5987
                                               mdavis@kuehnelaw.corn
                                               efiling@kuehnelaw.com




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                                                       RETURN OF NON-SER410E

         State of Florida
                                                                                                                             County of Broward



                                                                                                                 11mpg iM
         Case Number: CACE21006919

         Plaintiff:
         RAYMOND PURCELL and
         RANDALL PURCELL
         vs.

         Defendant:
         Florida, a municipal corporation,STEVEN POHORENCE,and ALEXANDER
         PAUL,

         For:
         MICHAEL T. DAVIS
         KUEHNE DAVIS LAW,P.A.
         100 SE 2STREET
         STE,3105
         MIAMI„ FL 33131

         Received by JUAN M. RIPOLL & ASSOCIATES on the 16th day of April)2021 at 3:42 pm to be served on CITY OF
         FORT LAUDERDALE„ 100 North Andrews Avenue, Fort Lauderdalel,FL 33301.

         I, MICHEAL BRYANT,do hereby affirm that on the 20th day of April,2021 at 12:46 pm,I:

         NON-SERVED the CIVIL ACTION SUMMONS & COMPLAINT for the reason that I failed to find CITY OF FORT
         LAUDERDALE,or any information to allow further search. Read the corments below for further details.

         Additional Information pertaining to this Service:
         4/20/2021 12:46 pm SERVICE COULD NCYI BE ACCEPTED.SUMMONS HAS TO BE AMENDED TO ADD BY
         SERVING THE MAYOR(HIS NAME)OR SCOTT WYMAN


         Under penalties of perjury, i declare that I have read the foregoing returrl of service and that the facts stated in it are
        true. I am over the age of 18, have no interest in the above action and am a Specially Appointed Server, in good
        standing, in the 17th Judicial Circuit wherein this process was served. Na Notary required pursuant to F.S. 92.525
        (2).




                                                                                       MICHE4 BRYANT
                                                                                       SPS 1537

                                                                                       JUAN M.IRIPOLL & ASSOCIATES
                                                                                      4105       9TH COURT
                                                                                              ,FL 33013
                                                                                      (786)290.0900

                                                                                        Our Job erial Number: MRM-2021270347

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       Case
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                                       12:34:18 PM on FLSD Docket 05/12/2021 Page 36 of 43


                                                RETURN OF SERVIcE

       State of Florida                                                                          County of Broward

       Case Number: CACE21006919

       Plaintiff:
       RAYMOND PURCELL and
       RANDALL PURCELL
                                                                                    111111111111111.1111111111
      vs.

      Defendant
      Florida,a municipal corporation,STEVEN POHORENCE,and ALEXANDER
      PAUL,

      For
      MICHAEL T. DAVIS
      KUEHNE DAVIS LAW, P.A.
      100 SE 2 STREET
      STE,3105
      MIAMI„ FL 33131

      Received by JUAN M. RIPOU.& ASSOCIATES on the 16th day of April, 2021 at 3:47 pm to be sewed on
      ALEXANDER PAUL CITY OF FORT LAUDERDALE police dept,cio WANDA OUTLAW COURT LIAISON,100
      North Andrews Avenue, Fort Lauderdale„ FL 33301.

       I, MICHEAL BRYANT,do hereby affirm that on the 27th day of April, 2021 at 11:04 am,I:

      INDIVIDUALLY/PERSONALLY served by delivering a true copy of the CIVIL ACTION SUMMONS & COMPLAINT
      with the date and hour of service endorsed thereon by me,to: ALEXANDER PAUL,CITY OF FORT LAUDERDALE
      police dept,c/o WANDA OUTLAW COURT LIAISON at the alternate address of: 1300 BROWARD BLVD,FORT
      LAUDERDALE,FL, and Informed said person of the contents therein, in compliance with state statutes.


      Additional Information pertaining to this Service:
      SERVICE CANNOT BE MADE AT THIS ADDRESS.CITY OF FORT LAUDERDALE IS NOT LOCATED AT THIS
      ADDRESS.


      SERVED AT CITY OF FORT LAUDERDALE POLICE DEPARTMENT 1300 BROWARD BLVD.

       Description of Person Served: Age: 25+,Sex: M, Race/Skin Color: BLACK, Height 5'9, Weight: 170, Hair: BLACK,
       Glasses: N
Case 0:21-cv-61006-RKA Document 1-1 Entered on FLSD Docket 05/12/2021 Page 37 of 43



                                 RETURN OF•ERVECE For CACE21006919

  Under penalties of perjury, I declare that I have read theforegoing return of service and that the facts stated in it are
 true. I am over the age of 18, have no interest in the above action and am a Specially Appointed•Server, in good
 standing,in the 17th Judicial Circuit wherein this process was served. No Notary required pursuant to F.S. 92.525
 (2).




                                                                              SF'S 1537

                                                                             JUAN M.RIPOLL& ASSOCIATES
                                                                            4106 EAST 911I COURT
                                                                             HIALEAH,FL 33013
                                                                            (786)2904,0900

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    Case 0:21-cv-61006-RKA Document 1-1 Entered on FLSD Docket 05/12/2021 Page 38 of 43

Filing# 1244g9409 Fd-filed 04/07/2021 01:42:06PM

                    IN THE CIRCUITCOURT OP TM 17*JUDItIAL atcurr IN AND
                                FOR BROWARD COUNTY,FLORIDA
          RAYMOND FURCELI.
          and
          RANDALLPURCELL             t plaintiff

                                                                        a CACE21006919
        CITY OFFORT1.4_14)1~1.E,Florida.Itittu~.coxporation.
        STEVEN ØJ-10~,and
        4446~(4**           •N        ~it




          STATE OF FLORIDA:
      To Each SherifroftheStalc

               Alexander Paul c/o Wanda.Outlaw,Court Liaison

             Address: City ofFt,Lluiderdale Police Dept.,100 NOrtit.Andrews Avenue Fort Lauderdale,PL 33301
                                                                   4\
                    SUMMONS:PERSONALSERVICE ON A N TUX%PERSON
                                                   IMPORTANT
         A lawsuit hasbeenftledsgainstyou.Youhave20calendar • 1. afterthissummonsisserved on
      you to tile a written response, to the attached complaint with .clerk of this court, located at
     CLERIC OF THE CIRCUITCOURT,201 S.E.eit MEET,Ø.LALIDERDALE FL 33301. A
     phone call will not protect you.Your written ~matt,includingdiecase numbergiven above and
     the names ofthe parties,mugbe filed ifyou wantthe courtto hear yourside ofthe case.Ifyoudo
              yourrespouse on time,you'may lose the ease)and yourwi money,and property may be
     taken without thrther             from the court.There weother • ~meas.You may want WI
     call an attorney tied away. yØ.& notknow anatomy,youa*callan attorneyntfwal service
     or a legal aid office <listed in the phone book).
        Ifyou chooseto file a written mponsis yourelf.atthesame .;; - you ed.~written,reSP°"    111
     to the-court you must also mail or take a copy ofyour written r   • to the"Plaintiff/Plaintiffs
     Attortterst: Mjrhael,T,Davis,mdavis@knehnelaw.com,cineld@kuehnela.w, .com               VoiNmemarme...•

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                                               IMPORTANTE
         Usted ha side denim:dada legatatente. Tlene 20 dias, corttøos a partir del reclbo de esta
      notifl~ pat% contester la ~Ida adjunta,por merit°, y presaitarla ante este tribunal.-Una
     Iltunada telefottica no lo pretogere. SI Wed.des« gm el tri • considere su deft», debe
     prosentar su respnesta pot escrito, incluyendo el mimero del r-- y kis &Woes de tas Pubs
     interessda.Si usted no contesta la demands,a dump°,pudiese pa*el <xis° y          serdespojado
     desusIngresos ypropiedades,oprIvadodesusdetedlos,           previti,avis'
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     requisit' os legales.Si lo desea,~to usted constdtar a un abogarkiimmediatamente.Si nu conoce




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  Case 0:21-cv-61006-RKA Document 1-1 Entered on FLSD Docket 05/12/2021 Page 39 of 43

legales. Si d                 uswd conaiiiat
abogado, ptiecle ilaniár a una de las oftcittaS'
                                          `'
   Si desea,responderala demanda porsu cu
el tribrinoi, debera usted enviar por correo
denominada abajo como "Plaintifelaintiffs Attotney"-(Demanda    o Abogado delDemandante),
                                              IMPORTANT
   Des poursuitesjudiciares ont ete entreprises contre vous. Vous avez20»mas consect#4 palr
de la date de l'assignation de cene citation pour deposer une responsiecrite a la01* tle.
aupres de ce tribunal. Un simple coup de telephone est                poi.* vous~,         •
oblige de deposer votxereponse ecrite,avec mertion du numero de dossier'44~
parties nonunees ici, si vous souhaitez que le tr%unal entende votre cause. Si v-
votre reponse ecrite dansle relai requis,vous risqudz de perdre la causeliimi qué vcitk,
argent, etNOS biens peuvent etre saisis par la,suite, sans aucun preavis ulterieur du
d'autres obligationsjuridiques etvous pouvezrequerirles servicesimmediats d'unavócat. yo 1W-
connaissez pas d'avocat,vous pourrieztelephoneraun service dereferenw d'avoctits ou a    eíá
                                                                                          j-
d'assistancejuridique(figuratt a l'annuaire de telephones).       #
  Si vous choisissez de deposer vous-m►era►eune reponse mito,üvous faudra egale~t, mente
teffs que cette fommilite, faire parvenir ou expedí« une copie de votre reponse ecrite au
"PlaintiftPlaintils Attorney" (Plaignant ou a son avocat) nomine ei-dessous.
 Micha& T. Davis
                   Attomey
 100 SE 2nd Street,Suite 3105,Miami, FL 33131
Address
   TETE STATE OF FLORIDA
  To Each Sheriff of the State: You are comanded to serve this suimnons and a copy of the
contplaint in this lawsuit on the above-natned defendant.
   Dated         APR 14 2021

                                                                        [Mame ofthe Clerki
                                                                   Clerk ofthe Circuit Court
    Case 0:21-cv-61006-RKA Document 1-1 Entered on FLSD Docket 05/12/2021 Page 40 of 43




Filing # 125886670 E-Filed 04/29/2021 04:58:36 PM


                                                  IN THE CIRCUIT COURT OF THE l7TH
                                                  JUDICIAL CIRCUIT IN AND FOR BROWARD
                                                  COUNTY,FLORIDA



                                                  CASE NO.: CACE21-006919
        RAYMON PURCELL
        and
        RANDALL PURCELL
                                Plaintiff
        v.
       CITY OF FORT LAUDERDALE,Florida,
       a municipal corporation,
       STEVEN POHORENCE,and
       ALEXANDER PAUL           Defendant


                                               SUMMONS

        THE STATE OF FLORIDA:

        To Each Sheriffofthe State:

                YOU ARE COMMANDED to serve this summons and a copy of the complaint or
        petition in this action on defendant. CITY OF FORT LAUDERDALE do MAYOR DEAN J TRANTALIS
                                              100 North Andrews Avenue
                                              Fort Lauderdale,FL 33301
                Each defendant is required to serve written defenses to the complaint or petition on:
                              Michael T. Davis                       (plaintiff or plaintiff's attorney)
        whose address is: 100 SE 2nd Street, Suite 3105
                              Fort Lauderdale,FL 33301
        within 20 days after service of this summons on that defendant, exclusive of the day of service,
        and to file the original of the defenses with the clerk of this court either before service on
        plaintiffs attorney or immediately after the service. If a defendant fails to do so, a default mayl
        be entered against that defendant for the relief demanded in the complaint or petition.

                                                        Dated                  APR 30 2021

                                                       [Name ofthe Clerk]
                                                        As Clerk ofthe Court

                                                        By
                                                                                     Clerk
Filing #Case 0:21-cv-61006-RKA
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                                        12:45:37 PM on FLSD Docket 05/12/2021 Page 41 of 43


                                                      RETURN OF NON-,SERVICE

        State of Florida
                                                                                                                        County of Broward
        Case Number: CACE21006919

        Plaintiff:
        RAYMOND PURCELL and
        RANDALL PURCELL
                                                                                                          1 1111111111112111111111111111
        vs.
        Defendant
        Florida, a municipal corporation,STEVEN POHORENCE,and ALEXANDER
        PAUL,

       For:
       MICHAEL T. DAVIS
       KUEHNE DAVIS LAW,PA
       100 SE 2 STREET
       STE,3105
       MIAMI„ FL 33131

       Received by JUAN M. RIPOLL & ASSOCIATES on the 16th day of April, 2021 at 3:45 pm to be served on STEVEN
       POHORENCE,CITY OF FORT LAUDERDALE police dept., c/o WANDA OUTLAW COURT LIAISON,100 North
       Andrews Avenue,Fort Lauderdale„ FL 33301.

        I, MICHEAL BRYANT,do hereby affirm that on the 27th day of April,2021 at 11:01 am,I;

       NON-SERVED the CIVIL ACTION SUMMONS & COMPLAINT for the reason that I failed to find STEVEN
       POHORENCE,CITY OF FORT LAUDERDALE police dept,c/o WANDA OUTLAW COURT LIAISON or any
       information to allow further search. Read the comments below for further details.

       Additional Information pertaining to this Service:
       4/20/2021 12:52 pm SERVICE CANNOT BE MADE AT THIS ADDRESS. CITY OF FORT LAUDERDALE IS NOT
       LOCATED AT THIS ADDRESS.THEIR ADDRESS IS 1300 BROWARD BLVD.
       A I I LIMPTED SERVICE AT FORT LAUDERDALE POLICE DEPARTMENT 1300 BROWARD BLVD FORT
       LAUDERDALE,FL,PER WANDA OUTLAW SHE CANNOT ACCEPT SERVICE ON A SUMMONS FOR THE
       DEFENDANT AND THE DEFENDANT NO LONGER WORKS THERE.


        Under penalties of perjury, I declare that I have read the foregoing return of service and that thefacts stated in it are
       true. I am over the age of 18, have no interest in the above action and am a Specially Appointed'Server, in good
       standing, in the 17th Judicial Circuit wherein this process was served. No Notary required pursuant to F.S. 92.525
       (2).




                                                                                   MICHEAL BRYANT
                                                                                   SPS 1537

                                                                                   JUAN M. RIPOLL & ASSOCIATES
                                                                                   4105 EAST9TH COURT
                                                                                   HIALEAH,FL 33013
                                                                                   (786}290-0900

                                                                                    Our Job Serial Number: MRM-2021270348


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                               IN THE CIRCUIT COURT OF THE 17*
                                                               JUDICIAL CIRCUIT IN AND
                                           FOR BROWARD COUNTY,FLORIDA
           RAYMOND PURCELL
           and
           RANDALL PURCELL
                                                                 Plaintiff
                                                                                                                    CASE NO. CACE21006919
                               V.
        CITY OF FORT LAUDERDALE,Florida, a municipal corporation,
        STEVEN POHORENCE,and
                 NDWA UL                                        Defendant
                                          •




      THE STATE OF FLORIDA:
      To Each Sheriffof the State:                                                                         •




      TO:  -•
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               Address: City of Ft. Lauderdale Police Dept., 100 NorthAndrews Avenue Fort Lauderdale, FL 33301

                            SUMMONS:PERSONAL SERVICE ON A NATURAL PERSON
                                                                                  IMPORTANT
         A lawsuit has been filed against you. Vou have 20calendar days after titia summons is served en
      you to file a written response to the attaehed cornplaint with the cierk of titia court, located at:
     CLERK OF THE CIRCUIT COURT,201 S.E.6 STREET, FT. LAUDERDALE,FL 33301. A
     phone call will not protect you. Your written response,including the case number given ahoye and
     the llames ofthe pardo, must be ftled ifyou want the court to hear yourside ofthe case. If you do
     not file your response on time, you may lose the case,and your wages,money,and property rnay be
     taken without further warning frenn the court There are other legal requixements. Vou may want to
     call an attorney right away.Ifyou do not know an attorney, you may call an attorney referral service
     or a.legal aid office(Usted in the phone book).
        Ifyou choose to file a written response yourself, at the same time you file your written response
     to the court you must siso mail or take a.copy ofyour written response to the 9Plaintif7Plaintiffs
     Attorney»at: Micbael T.Davís,rndavis@kuehnelaw.coni,cnielo@kuehnelaw.corn
                                                                                 IMPORTANTE

       Usted ha sido demandado legalmente.. Tiene 20 dias, contados a partir del recibo de esta
    notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
    llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
    presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
    interesada, Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria serdespojado
    de sus ingresos y propiedades,o privado de sus derechos,sin_previo aviso del tribunal. Existen otros
    requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente. Si no conoce
    Case 0:21-cv-61006-RKA Document 1-1 Entered on FLSD Docket 05/12/2021 Page 43 of 43

legales, Si 16.d.            usted consrultar.            immediatamente. Si no conoce a un
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abogadd, ptiede llaniár a una de las oficinat   , .•
                                               a~ut_        quê4)~11 fa guía telefonica.
   Si desea responder ala demanda porsu cu             tiempo en que preaentasu reapuesta ante
el tribunal, debera usted enviar por corre.O.             opii de stt respítesüt a la persona
denominada abajo como "PlaintifPlaintiff's Attotne     mandante o Abo o del Demandante),
                                         IMPORTANT
   Des poursuitesjudiciares ont entreprises contre vous. Vous avez20jours consecgtifs
de la date de l'assi~n_ de ceffe &don pour deposer une responséécrite a la
aupres de ce tnlunal Un simple coup de tele0one est insuffisant pour'VOUS
oblige de deposer votre reponse mi/e,aveemention du numero de dossier
>ardes nommees ici, si vous souhaitez que le tribunal entende votre.cause. Si voui
votre reponse ecrite dans le retal regul.a,vous risquez de padrela causeaihsi qué vo
argent, et,VOS biens peuvent etre saisis par la suite, sans aucun preavis ulte~ t~:„
d'autres obligationsjurldiqueset vous pouvezrequerirles servicesimmediatsetulavocat.
connaissez pas d'avocat,vous pounieztelephonera un sin/ice dereference d'avocats ou iín:bu
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d'assistancejuridique eiprant a l'annuaire de telephoms).
    Si vous choisissez de deposer vous-meme une reponse ecrite,d.vousfaudra egalem enr~
temps que- cette fonnalite, tire parvenir ou expedier une copie de votre reponse edite aiu
11Plaint~laintiffs Attorner (Plaignant ou a son avocat)nomine ci-dessous.
 Michael T. Davis.
Plain~laintifrs Attorney
 100 SE 2nd Street,Suite 3105,Miami,FL 33131
Address
  111E STATE OF FLORIDA.
   To Each Sherilf ofthe State: You are commanded to serve ibis summons and a copy of the
complaint in filia lawsuit on the above-named defendant.
               APR 14 2021       .
  Dated
                                                                       [No= ofdie Clerkl
                                                                    Cíe& of          urt
